 

 

Case:17-17630-MER Doc#:74 Filed:01/04/18 Entered:01/05/18 15:17:00 Pagel of 3

UNITED STATES BANKRUPTCY COURT | |

 

District of Colorado
|
In re: MATTHEW CURTIS WITT, | Case No.
MATTHEW C. WITT,
MATT WITT
| 17-17630-MER
Debtor. |
| Chapter
Address: 2792 Greatwood Way | 7

Highlands Ranch, CO 80126 |

SSN: XXX-XX-4130 |

 

DAVID KAHN’S OBJECTION TO MATTHEW CURTIS WITT’S MOTION TO
PARTIALLY AVOID LIEN, DOCKET # 45, 17-17630-MER PURSUANT TO 11 U.S.
CODE § 523 - EXCEPTIONS TO DISCHARGE, AND REQUEST FOR HEARING

 

NOTICE OF OBJECTION TO MOTION TO PARTIALLY AVOID LIEN AND
OPPORTUNITY FOR HEARING PURSUANT TO 11 U.S.C. § 362(d)

OBJECTION DEADLINE: January 17, 2018

YOU ARE HEREBY NOTIFIED that an Objection to Motion to Partially Avoid Lien has
been filed, a copy of which is attached hereto.

A hearing on the motion has been set for_ January 31,2018 at 9:30 a.m. at the U.S.
Bankruptcy Court, U.S. Custom House, 721 19% Street, Courtroom (C), Fifth Floor, Denver,
Colorado 80202. The hearing will be conducted in accordance with the provisions of L.B.R.
4001-1.

 
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IF YOU DESIRE TO OPPOSE THIS MOTION, you must file with this court a
WRITTEN OBJECTION to the motion on or before the objection deadline stated above and
serve a copy upon movant’s attorney, whose address is listed below.

If you file an objection, you are REQUIRED to comply with L.B.R. 4001-1 regarding
hearing procedures, including (1) the timely submission and exchange of witness lists and
exhibits and (2) attendance at the above-scheduled hearing in person or through counsel, if
represented.

IF YOU FAIL TO FILE AN OBJECTION, the scheduled hearing will be vacated, and
an order granting the relief requested may be granted without further notice to you.

  

 

Dated: January 4, 2018 By:
A Kum
David Kahn \
In Pro Se
Care of:

9540 SW Gemini Dr. #53210
Beaverton, OR 97008

Phone: 303-900-3434

E-mail: wittCase@sendshere.com

CERTIFICATE OF SERVICE

The undersigned hereby certifies that on January 4, 2018, I filed the foregoing in person
with the Clerk of the Court and mailed a copy of the filing by USPS to all counsel of record:

Attorneys for Attorneys and Address

Charles S. Parnell

4891 Independence Street, Suite
240 Wheat Ridge, Colorado
80033

Debtor

 
 

 

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Trustee Tom H. Connolly
950 Spruce Street, Suite 1C
Louisville, Colorado 80027

  

David Kahn \

In Pro Se

Care of:

9540 SW Gemini Dr. #53210
Beaverton, OR 97008

Phone: 303-900-3434

E-mail: wittCase@sendshere.com

 

EXHIBITS

Exhibit A - DAVID KAHN’S OBJECTION TO MATTHEW CURTIS WITT’S MOTION TO
PARTIALLY AVOID LIEN, DOCKET # 45, 17-17630-MER PURSUANT TO 11 U.S. CODE
§ 523 - EXCEPTIONS TO DISCHARGE, AND REQUEST FOR HEARING

Exhibit B - Affidavit in Support of David Kahn’s Assertion that Matthew Curtis Witt (“Witt”)
Allegedly Conspired to Commit Fraud, and Committed Fraud on the Creditors, and The United
States Bankruptcy Court District of Colorado, in Case Numbers 17-11705-MER and 17-17630-
MER

 
